                        1:17-cv-01455-JBM-JEH # 10            Page 1 of 11
                                                                                                         E-FILED
                                                       Friday, 22 December, 2017 10:36:19 AM
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS Clerk, U.S. District Court, ILCD
                                   PEORIA DIVISION

CLIFFORD BELL III,
                  Plaintiff,
v.                                                 Case No. 17-cv-01455
WALI ENTERPRISES LLC, d/b/a POPEYE’S
LOUISIANA KITCHEN
                  Defendant.

                               FIRST AMENDED COMPLAINT

        Plaintiff, Clifford Bell III (“Bell” or “Plaintiff”), by and through his attorneys, Caffarelli

 & Associates Ltd., for his First Amended Complaint against Defendant Wali Enterprises, LLC

 (“Defendant” or “Wali”), states as follows:

                                     NATURE OF ACTION

        1.     This is a single-plaintiff action for damages and injunctive relief against

 Defendant for its unlawful interference with Plaintiff’s rights in violation of the Family and

 Medical Leave Act of 1993, 29 U.S.C. § 2601, et seq. (“FMLA”) and its discrimination against

 Plaintiff on the basis of his disability in violation of the Americans with Disabilities Act, as

 amended, 42 U.S.C. § 12101, et seq. (“ADA”).

                                 JURISDICTION AND VENUE

        2.     This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331

 (federal question jurisdiction), 29 U.S.C. § 2617 (right to civil action under the FMLA), and 42

 U.S.C. § 12117(a) (right to civil action under ADA).

        3.     The unlawful employment practices described herein were committed at

 Defendant’s restaurant in Bloomington, McLean County, Illinois. Venue in the Peoria Division

 of the U.S. District Court for the Central District of Illinois is proper pursuant to 28 U.S.C. §

 1391(b).
                         1:17-cv-01455-JBM-JEH # 10             Page 2 of 11




       4.        On February 10, 2016, Bell filed a Charge of Discrimination with the U.S. Equal

Employment Opportunity Commission (“EEOC”) alleging discrimination on the basis of a

disability in violation of the ADA. Bell attaches his Charge as Exhibit A and incorporates the

allegations of his Charge herein.

       5.        On August 23, 2017, the EEOC issued a Dismissal and Notice of Rights as to

Bell’s Charge, a copy of which is attached as Exhibit B. Plaintiff files this Complaint within 90

days of his receipt of the Dismissal and Notice of Rights from the EEOC.

       6.        Plaintiff has satisfied all conditions precedent to pursuing his ADA claim in

federal court.

                                              PARTIES

       7.        Plaintiff Clifford Bell III resides in Bloomington, Illinois.

       8.        Plaintiff worked for Defendant at its Popeye’s Louisiana Kitchen fast food

restaurant located at 1803 West Market Street, Bloomington, Illinois 61701 from 2004 through

October 2015.

       9.        At all relevant times, Plaintiff was an “employee” of Defendant within the

meaning of the FMLA, 29 U.S.C. § 2611(3)(A).

       10.       At all relevant times, Plaintiff was an “employee” of Defendant within the

meaning of the ADA, 42 U.S.C. § 12111(4).

       11.       Defendant Wali is an Illinois corporation that owns and operates several Popeye’s

Louisiana Kitchen restaurants in central Illinois. In addition to Plaintiff’s work location in

Bloomington, Illinois, Defendant owns and operates a second restaurant in Bloomington, as well

as locations in Peoria and Springfield, Illinois.




                                                    2
                       1:17-cv-01455-JBM-JEH # 10            Page 3 of 11




       12.     At all relevant times, Defendant was Plaintiff’s “employer” within the meaning of

the FMLA, 29 U.S.C. § 2611(4)(A).

       13.     At all relevant times, Defendant was Plaintiff’s “employer” within the meaning of

Title VII, 42 U.S.C. § 12111(5)(A).

       14.     At all relevant times, Defendant employed more than 50 employees within 75

miles of Plaintiff’s work location in Bloomington.

                                 FACTUAL ALLEGATIONS

       15.     Bell worked full-time for Defendant at its Market Street location from 2004 until

his termination on or about October 20, 2015. At the time of his termination, Plaintiff’s title was

Head Cook.

       16.     In the 12 months preceding his termination, Plaintiff worked more than 1,250

hours for Defendant.

       17.     Throughout his employment, Bell performed his job satisfactorily.

       18.     As of October 2015, Plaintiff had suffered from high blood pressure for 3 to 4

years. Repeatedly throughout these years, Bell was monitored and treated by his doctor for his

condition.

       19.     On or about October 8, 2015, Bell called his manager to inform Defendant that he

was unable to work due to his blood pressure being too high. The manager told Bell to bring a

doctor’s note when he returned to work. Bell did not report to work that day.

       20.     On or about October 13, 2015, Bell attended a doctor’s appointment relating to

his blood pressure. At this appointment, Bell’s doctor placed a heart monitor on him because he

was also experiencing heart palpitations. High blood pressure (also known as hypertension) can




                                                3
                         1:17-cv-01455-JBM-JEH # 10           Page 4 of 11




result in damage to the cardiovascular and circulatory systems, including causing an increased

risk of heart attack, heart failure, or stroke.

        21.     The doctor’s office also scheduled Bell for follow-up appointment on October 27,

2015.

        22.     Since his absence starting on October 8, 2015, Bell first returned to work on

October 14, 2015. When Bell reported to work, he provided Defendant with documentation

from his doctor verifying that his absences during the previous week was medically necessary.

        23.     Defendant refused to accept Bell’s documentation and refused to permit him to

return to work on October 14, 2015.

        24.     On October 16, 2015, Bell attended a second appointment with his doctor, during

which the doctor reviewed and removed his heart monitor. At this appointment, Bell also

obtained another note from his doctor explaining his absences from work to provide Defendant.

        25.     The doctor cleared Bell to return to work without restrictions.

        26.     Bell then called his manager, Deb, to inform Defendant that he had obtained

additional information from his doctor to show that all of the days he was absent were due to his

health condition. Deb informed Bell that he was not scheduled to work again until Monday,

October 19, 2015, and that Bell needed to bring the doctor’s notes to her for review that Monday.

        27.     On October 19, 2015, Bell again arrived at his work location with the

documentation Defendant had requested. Bell was told that his manager had to review the

documentation, but that she was not present, so he could not return to work. The Shift Leader

took copies of Bell’s medical documentation and told him to come back the next day.

        28.     On October 20, 2015 Bell again attempted to return to work with the medical

documentation previously requested. When Bell arrived at the restaurant he was met at the door




                                                  4
                        1:17-cv-01455-JBM-JEH # 10            Page 5 of 11




by two co-workers, who informed him that per the manager, Bell was not allowed inside and was

no longer employed by Defendant.

       29.      After being refused access to his workplace, Bell called his manager. After

several calls went unanswered, Bell’s manager answered the phone and told him only that he was

fired and then hung up.

       30.      At no time did Defendant advise Bell of his right or eligibility to take leave

pursuant to the FMLA.

       31.      On November 3, 2015, Bell attended another doctor’s appointment for continuing,

follow up treatment for his high blood pressure.

                                   COUNT I
                 FAILURE TO ACCOMMODATE IN VIOLATION OF THE ADA

       32.      Plaintiff restates and incorporates Paragraphs 1 through 31 as though fully set

forth herein.

       33.      At all relevant times Bell was a qualified individual with a disability (high blood

pressure) pursuant to the ADA.

       34.      Bell’s high blood pressure occasionally and temporarily renders him unable to

work in a broad class of jobs, as it places him at a significant risk of experiencing a stroke, heart

attack, and/or heart failure when his condition is uncontrolled.

       35.      Bell’s high blood pressure substantially limits his major life activities including

cardiovascular function, circulatory function, and/or work.

       36.      In order to perform his job, Bell required the reasonable accommodation of a brief

absence from work, including but not limited to leave pursuant to the FMLA, in order to seek

treatment for and recover from the spike in his blood pressure.




                                                   5
                       1:17-cv-01455-JBM-JEH # 10           Page 6 of 11




       37.     Defendant permitted other, non-disabled employees to be absent from work

without consequence.

       38.     Throughout his employment with Defendant, Bell could perform the essential

functions of the Head Cook position with or without a reasonable accommodation.

       39.     When Defendant refused to excuse Bell’s October 2015 absence from work and

instead terminated him, it unlawfully failed to accommodate Bell in violation of the ADA.

       40.     As a direct and proximate result of Defendant’s actions, Bell has suffered and

continues to suffer irreparable injury and harm.

       41.     Defendant’s actions in this regard were willful, wanton, and outrageous,

warranting the imposition of punitive damages.

       WHEREFORE, Plaintiff Clifford Bell III respectfully requests that this Court enter an

order as follows:

               A. Declaring that the acts and practices by Defendant, as described herein,
                  constitute a violation of ADA;

               B. Enjoining and permanently restraining these violations of ADA;

               C. Awarding Plaintiff back wages, front pay, and lost benefits due to Defendant's
                  violation of ADA;

               D. Awarding Plaintiff compensatory damages;

               E. Awarding Plaintiff punitive damages;

               F. Awarding reasonable attorneys’ fees and costs incurred by Plaintiff in
                  connection with the instant action; and

               G. Awarding Plaintiff such further and additional relief, including equitable
                  damages, as the Court may deem just and proper.




                                                   6
                         1:17-cv-01455-JBM-JEH # 10           Page 7 of 11




                                     COUNT II
                DISABILITY DISCRIMINATION IN VIOLATION OF THE ADA

       42.       Plaintiff restates and incorporates Paragraphs 1 through 31 as though fully set

forth herein.

       43.       At all relevant times Bell was a qualified individual with a disability (high blood

pressure) pursuant to the ADA.

       44.       Bell’s high blood pressure occasionally and temporarily renders him unable to

work in a broad class of jobs, as it places him at a significant risk of experiencing a stroke, heart

attack, and/or heart failure when his condition is uncontrolled.

       45.       Bell’s high blood pressure substantially limits major life activities including

cardiovascular function, circulatory function, and/or work.

       46.       In order to perform his job, Bell required the reasonable accommodation of a brief

absence from work, including but not limited to leave pursuant to the FMLA, in order to seek

treatment for and recover from the spike in his blood pressure.

       47.       When Defendant refused to excuse Bell’s October 2015 absence from work and

instead terminated him, it unlawfully discriminated against Bell on the basis of his disability in

violation of the ADA.

       48.       Defendant permitted other, non-disabled employees to be absent from work

without consequence.

       49.       As a direct and proximate result of Defendant’s actions, Bell has suffered and

continues to suffer irreparable injury and harm.

       50.       Defendant’s actions in this regard were willful, wanton, and outrageous,

warranting the imposition of punitive damages.




                                                   7
                         1:17-cv-01455-JBM-JEH # 10           Page 8 of 11




          WHEREFORE, Plaintiff Clifford Bell III respectfully requests that this Court enter an

order as follows:

                 A. Declaring that the acts and practices by Defendant, as described herein,
                    constitute a violation of ADA;

                 B. Enjoining and permanently restraining these violations of ADA;

                 C. Awarding Plaintiff back wages, front pay, and lost benefits due to Defendant's
                    violation of ADA;

                 D. Awarding Plaintiff compensatory damages;

                 E. Awarding Plaintiff punitive damages;

                 F. Awarding reasonable attorneys’ fees and costs incurred by Plaintiff in
                    connection with the instant action; and

                 G. Awarding Plaintiff such further and additional relief, including equitable
                    damages, as the Court may deem just and proper.

                             COUNT III
  INTERFERENCE IN VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT

          51.    Plaintiff restates and incorporates Paragraph 1 through 31 as though fully set forth

herein.

          52.    The matters set forth in this Count arise from Defendant’s violation of the FMLA.

          53.    In the 12 months preceding his termination, Plaintiff worked more than 1,250

hours for Defendant.

          54.    Plaintiff suffers from high blood pressure, which is a serious health condition that

requires continuing treatment involving a health care provider.

          55.    As an eligible employee who required time off relating to his serious health

condition, Bell was entitled to take leave pursuant to the FMLA.

          56.    Bell informed Defendant that he had a serious health condition and of his need to

be absent from work relating to the same.



                                                  8
                       1:17-cv-01455-JBM-JEH # 10             Page 9 of 11




        57.    Defendant interfered with Plaintiff’s rights under the FMLA by failing to provide

him with notice (including a failure to provide Plaintiff with any notices regarding his

designation, rights and responsibilities, and/or eligibility) or information regarding his right to

take job-protected leave pursuant to the FMLA in October 2015.

        58.    Defendant interfered with Plaintiff’s rights under the FMLA by failing to

investigate whether Plaintiff was eligible to receive FMLA leave and/or whether his October

2015 absence qualified for FMLA protections.

        59.    Defendant interfered with Bell’s FMLA rights when, despite his repeated requests

to be reinstated following his October 2015 absence, Defendant failed and refused to reinstate

Bell.

        60.    Defendant interfered with Bell’s FMLA rights when it terminated Bell in

violation of the FMLA.

        61.    Defendant’s violation of the FMLA has caused Bell to incur damages, including

but not limited to loss of income, in the time since his termination.

        WHEREFORE, Plaintiff Clifford Bell III respectfully requests that this Court enter an

order as follows:

               A. Declaring that the acts and practices by Defendant, as described herein,
                  constitute a violation of the FMLA;

               B. Enjoining and permanently restraining these violations of the FMLA;

               C. Awarding Plaintiff back wages, reinstatement or front pay in the alternative,
                  and lost benefits arising from Defendant’s violation of FMLA;

               D. Awarding Plaintiff liquidated damages in an additional amount equal to the
                  sum of the actual damages and interest pursuant to 29 U.S.C. § 2617(a)(1)(A);

               E. Awarding Plaintiff his reasonable attorneys’ fees and costs incurred in
                  connection with the instant action; and




                                                 9
                   1:17-cv-01455-JBM-JEH # 10           Page 10 of 11




            F. Awarding Plaintiff any additional relief, including equitable damages, that the
               Court may deem just and proper.

Dated: December 22, 2017                    Respectfully submitted,
                                            CLIFFORD BELL III,
Alejandro Caffarelli, #06239078
Alexis D. Martin, #06309619
Madeline K. Engel, #06303249                By: /s/ Alexis D. Martin
Caffarelli & Associates Ltd.                    Attorney for the Plaintiff
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                                            10
                     1:17-cv-01455-JBM-JEH # 10           Page 11 of 11




                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a copy of the attached, First
Amended Complaint, was served upon the individual listed below by electronically filing with
the Clerk of the U.S. District Court of the Central District of Illinois on December 22, 2017.

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                                                       /s/ Alexis D. Martin
                                                       One of Plaintiff’s Attorneys




                                              11
